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 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3                                               ***
 4    UNITED STATES OF AMERICA,                        2:10-cr-578-PMP-GWF

 5                  Plaintiff,                         PROPOSED ORDER

 6    vs.

 7    LINDA LIVOLSI,

 8                  Defendant.

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10                 IT IS THEREFORE ORDERED that the hearing currently scheduled for Tuesday,

11                                                                            Tuesday, December
     December 3, 2013, at the hour of 2:30 p.m., be vacated and continued to _______________ at the

   hour2013
12 17,  of _______
             at the _.m.
                    hour of 3:30 p.m.

13         DATED 3rd        day of December, 2013.

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15                                              UNITED STATES MAGISTRATE JUDGE

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